        Case 3:23-cv-00381-TAD-KDM Document 9 Filed 04/18/23 Page 1 of 1 PageID #: 297
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District
                                             __________ DistrictofofLouisiana
                                                                     __________


             ROBERT F. KENNEDY, JR. et al                      )
                             Plaintiff                         )
                                v.                             )      Case No.     3:23-cv-00381
                JOSEPH R. BIDEN, JR et al                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          ALL DEFENDANTS                                                                                               .


Date:          04/18/2023                                                            /s/JOSHUA E. GARNDER
                                                                                         Attorney’s signature


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